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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

 CENTER FOR BIOLOGICAL
 DIVERSITY, et al.,

       Plaintiffs,

              v.                                   Case No. 1:21-cv-0119 (RDM)

 U.S. ENVIRONMENTAL
 PROTECTION
 AGENCY, et al.

       Defendants.



            THE FLORIDA CHAMBER OF COMMERCE &
     THE ASSOCIATION OF FLORIDA COMMUNITY DEVELOPERS
                 AMICUS BRIEF IN SUPPORT OF
        DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      Giving credit to where it is due, Amici again wholeheartedly endorse the

Federal Defendants’ thorough dismantling of the Plaintiffs’ merits arguments.

Simply put, the Plaintiffs’ hollow assertions and the applicable law conclusively

demonstrate they lack standing to continue this meritless crusade and waste

government litigation resources, both the United States’ and Florida’s. As the

Supreme Court recently reiterated, “[r]egulation of land and water use lies at the core

of traditional state authority.” Sackett v. EPA, 143 S. Ct. 1322, 1341 (2023) (citing

Tarrant Regional Water Dist. v. Herrmann, 569 U.S. 614, 631 (2013); Solid Waste

Agency of Northern Cook Cty. v. Army Corps of Engineers, 531 U.S. 159, 174


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(2001); Hess v. Port Authority Trans-Hudson Corporation, 513 U.S. 30, 44 (1994)).

And nothing the Plaintiffs have offered can justify stripping Florida of its authority

to administer the Section 404 permitting authority in the manner that Congress

intended.

      To be certain, the Florida Department of Environmental Protection is indeed

“working cooperatively with the U.S. Environmental Protection Agency (EPA), the

U.S. Army Corps of Engineers (Corps), the U.S. Fish and Wildlife Service (FWS),

and other federal, state, and local agencies on implementation of the Section 404

program in Florida.” ECF No. 102-1 ¶ 9. As a result, Florida “has issued

approximately 460 individual permits (including modifications) under the Section

404 program” since assuming ECF No. 102-1 ¶ 9. And despite the reams of paper

Plaintiffs have frittered away over this case, they have not, and cannot, point to any

environmental concern or impact arising from these issuances that could possibly

justify their request that the Court scrap a years’ long, successful process of

cooperative federalism.

      Congress’s explicit policy under the Clean Water Act is “to recognize,

preserve, and protect the primary responsibilities and rights of States to prevent,

reduce, and eliminate pollution, to plan the development and use (including

restoration, preservation, and enhancement) of land and water resources.” 33 U.S.C.

§ 1251. This includes the implementation of “the permit programs under



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section[] . . . 404. Id. In other words, Congress prefers the outcome here, Florida

wants the responsibility to administer this program, and President Biden’s EPA is

vigorously defending Florida’s right to assume this task. The Plaintiffs remain

entirely isolated in their insistence that this Court must act.

      But act to redress what legally cognizable injuries? The Plaintiffs have alleged

harm to (1) their “organizations’ access to information provided through NEPA

review and ESA consultation and access to courts to challenge inadequate

environmental protection,” and (2) their “members’ aesthetic and recreational

interests in wild Florida lands, wetlands, and waters where panthers roam and sea

turtles nest.” ECF. No. 90, at 105. But allegations are no longer enough. Because the

elements of standing are “not mere pleading requirements but rather an

indispensable part of the [P]laintiff’s case, each element must be supported in the

same way as any other matter on which the plaintiff bears the burden of proof, i.e.,

with the manner and degree of evidence required at the successive stages of the

litigation.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). Where, as here,

the Plaintiffs are responding to “a summary judgment motion,” they “can no longer

rest on . . . ‘mere allegations,’ but must ‘set forth’ by affidavit or other evidence

‘specific facts.’” Id. (quoting, inter alia, Fed. Rule Civ. Proc. 56(e)).

      When this Court declined to dismiss the Plaintiffs’ complaint at the motion to

dismiss stage, it did so because the State had “offer[ed] no evidence or factual



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material beyond the four corners of the complaint in support of its motion.” Ctr. for

Biological Diversity v. Regan, 597 F. Supp. 3d 173, 189 (D.D.C. 2022). Now,

however, the State has offered an affidavit from the State Department of

Environmental Protection’s General Counsel. And that affidavit conclusively

demonstrates that the Plaintiffs are suffering no legally cognizable injury

whatsoever.

      Most directly, the State’s affidavit painstakingly shows that the Plaintiffs are

likely to receive more information faster than they would have if Florida had not

assumed the Section 404 permitting process. ECF No. 102-1 ¶¶ 16-30. It also shows

that any purported injuries to their “members’ aesthetic and recreational interests”

are wholly speculative and anything but “certainly impending,” see Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 409 (2013), particularly given the oversight that

the EPA retains, ECF No. 102-1 ¶ 31, and Florida’s robust enforcement regime, ECF

No. 102-1 ¶¶ 32-40. To the extent that the Plaintiffs argue that they are harmed

because they must bring future challenges in a different forum, the Court should

reject that purported injury for the same reasons it disallowed Amici to intervene as

parties. See ECF No. 39. And to the extent that the Plaintiffs rely on increased

litigation expenses, see, e.g., ECF No. 105, at 99, the D.C. Circuit has been crystal

clear that “‘an organization’s diversion of resources to litigation or to investigation

in anticipation of litigation is considered a ‘self-inflicted’ budgetary choice that



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cannot qualify as an injury in fact for purposes of standing.’” People for the Ethical

Treatment of Animals v. United States Dep’t of Agric., 797 F.3d 1087, 1093 (D.C.

Cir. 2015) (quoting Am. Soc. for Prevention of Cruelty to Animals v. Feld Entm’t,

Inc., 659 F.3d 13, 25 (D.C. Cir. 2011)).

      These points demonstrate that there is nothing whatsoever to the Plaintiffs’

purported injuries. And without anything in the record to support their burden (now

at the summary-judgment stage) of demonstrating Article III standing, the Court

must go no further. In other words, the Plaintiffs’ failure to satisfy this “irreducible

constitutional minimum” compels a win for the Defendants. Spokeo, Inc. v. Robins,

578 U.S. 330, 338 (2016).

                                   CONCLUSION

      For all these reasons, the Court should grant summary judgment for the

Federal Defendants and the State Intervenors.




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Dated: July 7, 2023               Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Local Rule 7(o)(4)

because it does not exceed 25 pages. This brief complies with the typeface

requirements of Local Rule 5.1(d) because this brief has been prepared in a

proportionally spaced typeface using the Microsoft Office Word processing software

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Dated: July 7, 2023

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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 7, 2023, I filed this Brief with the United States

District Court for the District of Columbia using the CM/ECF system, which will

cause it to be served on all counsel of record.



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